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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

In re: Case No.: 8:18~bk-07l47-RCT
Chapter 7
Phyilis Brown,

Debtor(s).

CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
SERVICES AND LISTING AGENT TO PROCURE
CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. 327 328 AND 330

Stephen L. Meininger, as Chapter 7 Trustee (the “Trustee”) for the above

referenced debtor(s) (together, the “Debtor”), by and through the undersigned counsel, files this

 

Application for entry of an order authorizing retention of (l) BK Global Real Estate Services
(“LRE_S_”) under the terms set forth in the agreement (the “BKRES Agreement”) attached to
BKRES’ Afiidavit of Disinterestedness (the “BKRES Affidavit”) and (2) Alexandra Gonzalez of
Weichert, Realtors-Equity (“Listing Agent”) under the terms of the agreement (the “Lis_ting
Agreement”) attached to Listing Agent’s Afiidavit of Disinterestedness at (the “Listing Agent
Affidavit”). In support thereof, the Trustee respectfully states as follows:

PREL[MINARY STATEMENT

Trustee requests approval to retain BKRES and Listing Agent, at no cost to the
estate, to negotiate with and persuade the first lienholder on certain real property in which the
estate has no equity to (l) allow Trustee to sell such property at the highest price that the market
will bear, (2) waive the resulting deficiency claim and (3) pay a ll U.S.C. § 506 surcharge to
provide a carveout for the benefit of the estate and pay all other sale expenses, including a 6%
brokerage commission that will be shared equally by BKRES and Listing Agent only upon the

closing of a sale that is approved by this Court.

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BKRES and its affiliates have proprietary technology and a national team of
experienced loan servicing specialists, asset managers, negotiators, trustee relation managers, real
estate brokers and agents, closing specialists and attorneys with extensive experience in procuring
the consent of mortgage lenders and servicers to sell over-encumbered properties and provide
significant cash recoveries to selling estates with no equity, through the Consented SaleTM process
described herein.

The proposed agreements are attached and provide that BKRES and Listing Agent
will not be entitled to any compensation from the estate whatsoever under any circumstances They
Will only receive and share a customary brokerage commission that is paid by secured creditor as
a ll U.S.C. § 506 surcharge approved by this Court.

The Trustee (l) believes that hiring BKRES and Listing Agent to pursue a
Consented SaleTM will likely result in secured creditor paying a carveout for the benefit of the
estate with proceeds from the public sale of an asset in which the estate has no equity and
(2) expects to obtain secured creditor’s agreement to a Consented SaleTM, and bring a separate
motion seeking this Court’s approval of the procedures, terms and conditions by which the over-
encumbered property will be sold, within the coming months.

JURISDICTION

This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157 and
1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N),
and (O).

Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

BACKGROUND

On 08/22/18 the Debtor commenced this case by filing a voluntary petition for relief under

Chapter 7 of the United States Bankruptcy Code.

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Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

The Trustee held and concluded the 341 meeting on Sep 27, 2018.

The Debtor is the sole owner of real property located at 4531 6th Ave S St. Petersburg, FL
33711 (the “M”). The Debtor has not claimed the Property as exempt and, upon information
and belief`, the Property is vacant.

The Debtor has no equity in the Property. The Debtor’s schedules reflect that the Property
is currently worth $50,000.00, but is subject to a first mortgage lien (the “Senior Mortgage”) in
favor of SunTrust Mortgage (the “Secured Creditor”) in an amount exceeding $51,675.00.

The Trustee, after reviewing certain materials, including (without limitation) the
BK ScoreTM', sales analysis report and opinion of value for the Property provided by BKRES and
Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all creditors to

negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

 

a. sell the Property to whichever third party Trustee determines to have made the
best qualified offer during a public sale approved by the Court;

b. buy the Property from the Debtor’s estate if (and only if) no such offer is made;

c. release the Senior Mortgage and otherwise waive all of` its claims against the
estate with respect to the Property (including any deficiency claims resulting
from the proposed sale); and

d. agree to a ll U.S.C. § 506 surcharge to pay all of the expenses associated with
the proposed sale, including the payment of a 6% real estate brokerage

commission to BKRES and Listing Agent and reimbursement of their out-of-

 

' The BK ScoreTM is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.

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pocket expenses, and provide a carveout for the benefit of allowed unsecured
creditors of the Debtor’s estate.
Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s Consent and bring
a separate motion seeking an order approving the sale of the Property (the “Motion to Approve
m”) within several months of the entry of the order sought by this Application.
By this Application, the Trustee requests authority pursuant to Sections 327, 328(a) and
330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured Creditor’s
Consent, and (b) approve Secured Creditor’s payment of the fees described below directly to
BKRES and Listing Agent at closing of the sale of the Property, if and when the Consent and
Motion to Approve Sale are granted.

APPLlCA'rloN

Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor “with the
court’s approval, may employ or authorize the employment of a professional person under section
327...on any reasonable terms and conditions of employment, including on a retainer, on an hourly
basis, on a fixed percentage or fee basis, or on a contingent fee basis.” l l U.S.C. § 328(a). Section
330 of the Bankruptcy Code permits the Court to “award to a trustee. .. or a professional person
employed under section 327. . .(A) reasonable compensation for actual, necessary services
rendered [by such party]... and (B) reimbursement for actual, necessary expenses.” ll U.S.C.
§ 330(a)(l).

As further described in the materials attached to their affidavits, BKRES2 and Listing

Agent have extensive experience obtaining the consent and agreement of mortgage lenders and

 

2 BKRES is the broker affiliate of BK Global (http://www.bkginc.com[).

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servicers to the sale of their collateral and resolution of any resulting unsecured claims in order to
produce a recovery for estates from over-encumbered assets in which the estate has no equity.

The Trustee believes that the highest and best value for the Property will be generated
through a sale in which the Property is widely marketed to the public and offered at the highest
price that the market will bear. The Trustee further believes that such a sale is in the best interest
of the Debtor’s estate, but can only be achieved if Secured Creditor’s Consent is first obtained.
That is why the Trustee believes that retaining BKRES and Listing Agent to obtain Secured
Creditor’s Consent is in the best interests of the Debtor’s estate.

In no event will the estate have any obligation to pay BKRES or Listing Agent, The terms
of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent are only
entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion to Approve
Sale is granted and (c) the Property is sold, in which event BKRES and Listing Agent will receive
and share a 6% real estate brokerage commission at closing in accordance with the order approving
the sale,

BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does not
grant its Consent or the Court does not grant the Motion to Approve Sale.

The Trustee submits that the terms of employment and compensation as set out in the
BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience of
BKRES and Listing Agent and the nature of the services they provide.

BKRES attested that it is a disinterested person within the meaning of Section 101(14) of
the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a). Attached

hereto is an Affrdavit of Disinterestedness of BKRES. BKRES also attests, pursuant to

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Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or entity other than
Listing Agent.

Listing Agent attested that it is a disinterested person within the meaning of
Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and
2016(a). Attached hereto is an Affidavit of Disinterestedness of Listing Agent, Listing Agent also
attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual
or entity other than BKRES.

CoNCLUsloN

F or the foregoing and all other necessary and proper purposes, the Trustee seeks the Court’s
authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the
compensation arrangements set forth in the BKRES Agreement and Listing Agreement pursuant
to Sections 327, 328(a) and 330 of the Bankruptcy Code.

DATEZ OCTOBER 19, 2018

 

BY:
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Chapter 7 te
707 North Fr 11 eet
Suite 850

Tampa, FL 33602

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UNITED STATES BANKRUPTCY COURT

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In re: Chapter 7
z Case No. 18-07147
Debtor
Phyilis Brown

DECLARATION 0F PATRICK BUTLER IN SUPPORT OF APPLICATION
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND WEICHMI`, REALTORS-
E UITY TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. 327 328
AND 330

The undersigned, Patrick Butler (“Declarant”) hereby states:

l. I am employed by BK Global Real Estate Services (“Applicant” or
“M”), which is an entity duly licensed as a real estate brokerage by the State of Florida
located at 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton, FL 33487. I am Applicant’s
broker-in-charge and am authorized by Applicant to submit this Declaration on Applicant’s behalf
in support of the annexed Application to Retain BKRES and in accordance with Bankruptcy Rule
2014.

2. Based upon the information discussed below, I believe that Applicant is a
disinterested person and does not hold or represent any interest adverse to the interest of the
Debtor’s estate as that term is defined in Section 101(14) of the Bankruptcy Code.

3. To the best of my knowledge: (a) neither BKRES nor any of its employees
has any connection with the Debtor, its creditors in this case, the Chapter 7 Trustee, the Office of

the United States Trustee, or any employees thereof or any party in interest herein; (b) BKRES

and each of its employees are “disinterested persons,” as that tenn is defined in Section 101(14)

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of the Bankruptcy Code; and (c) neither BKRES nor any of its employees hold or represent an

interest adverse to the Debtor’s estate.

4. A description of the qualifications of, and services provided by, BKRES is
attached as Schedule 1.

5. That I have read the application of the Trustee regarding the retention and
compensation of BKRES and agreed to be bound by the terms and conditions represented therein.

6. That I further understand that the Court, in its discretion, may alter the terms
and conditions of employment and compensation, as it deems appropriate

Verified under penalty of perjury that the foregoing is true and correct this / 2 day of

October, 2018.
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' /’l W¢'

Patrick Bixtler
Broker-in-Charge

 

The foregoing instrument was sworn to and subscribed before me this l'i"}day of October, 2018,
by Patrick Butler who provided identification or is personally known to me and who did take an
oath.

NO'I`ARY PUBLIC

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Notary Publk:, State of`lzlorida '

My Commission Expires

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SCHEDULE 1

STATEMENT OF QUALIFlCATIONS AND SERVICES OF BKRES

BK GlobalTM

BK GlobalTM is a national company with a bankruptcy service platform containing a network of
certified BK real estate Brokers and Agents, a national marketplace for listing and submitting
bankruptcy real estate purchase offers (www.bkglistings.com), and a centralized team of loan
servicing specialist that enable Federal Trustees to streamline and manage their real estate needs
most effectively for the benefit of the bankruptcy estate and unsecured creditors. By integrating its

unique services and implementing its proprietary tools, BK Global is poised to create industry
standards and efficiencies.

Consented SaleTM

A Consented Sale'rM is an “enhanced” agreement between all requisite stakeholders, the most
important being the lender/servicer, of a residential or commercial property for less than what the
owner still owes on the mortgage. A Consented SaleTM is a beneficial alternative to foreclosure
when a homeowner needs to sell and can no longer afford to make their mortgage payments. The
lender agrees to accept less than the amount owed to pay off a loan now rather than taking the
property back by foreclosure and trying to sell it later. Lenders agree to a Consented SaleTM

because they believe it will net them more money than going forward with a lengthy and costly
foreclosure process.

BK ScoreTM

BK ScoreTM is generated from a finite set of data points in a prescribed sequence to achieve a
resulting score between the values of l and 100. The BK ScoreTM is shared with trustees, servicers,
courts, and software management platforms and indicates the likelihood that an asset in a
bankruptcy is qualified for consented disposition The higher the BK ScoreTM there is a better
chance to sell the property. In addition to the presented scores, BK Global provides the trustee a
solution to sell the asset which maximizes the benefit to the estate. BK GlobalTM is at the forefront
of creating new industry standards for trustee services.

To consistently measure and predict market value of real estate assets nationally, in an ever
changing and fluid real estate market, it is important to have a well-defined methodology that
explains how values are derived. The BK ScoreTM uses multiple data points to predict sales
confidence compared to the limited local market inputs used by real estate brokers who are not
certified in short sales. BK ScoreTM incorporates a number of unique methodology questions that
include the data points listed below,

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Highlightcd BK ScoreTM Data Points
¢ Asset Value / Liabilities / Liens
o .Iudicial / Non-judicial State Analysis
o Pro Se (Professional Legal chresentation)
¢ Title Search
o Statement of Intent by Debtor
o Foreclosure Tirneline Analysis
o Redemption Period Analysis
o Community / Non-community Asset
o Asset Valuation Model (AVM)

BK Scoi'cT*“ Core Bcnoiits

 

Increased Confidence of a Consented Short Sale - BK ScoreTM gives lenders, servicers and real
estate professionals more precise information on which to determine baseline sales values to achieve
a successful consented short sale,

Accelerates the Short Sale Decision Process - Technology that utilizes scoring systems allows
lenders/servicers to make instant valuation and sales consent decisions. This is notable as applications
for consented sale of property can be approved by lenders/servicers in hours rather than weeks for
sales values which score above a lender' s score cutoff`.

Reduces Risk of Completing a Cooperative Short Sale- There are certain barriers to a short sale.
Servicers are frequently wary of short sale offers because of concerns that they are settling the debt at
too low a price. Greater probability that servicers will consent to a short sale is made possible thanks
to BK ScoreTM. The BK ScoreTM empowers any lender/servicer to quickly set a cut off price and begin
the short sale process, without time-consuming phone calls, faxed documents, or any effort from the
agent or trustee.

Increases Transaction Transparency - BK GlobalTM is integrated with most maj or lender/servicers
nationally. The BK ScoreTM, Which has revolutionized the default servicing industry, helps servicers
select and execute optimal baseline valuations based on measurable guidelines while driving
efficiency, fostering transparency and facilitating compliance With the use of BK ScoreTM agents and

trustees can quickly collaborate and determine an appropriate list price that allow agents to begin
pursuing sales offers with confidence

The BK Score"'M algorithm has been developed by industry experts that have over 30 years of
experience in Distressed Real Estate and Bankruptcy Sales. To date, over 2 years of bankruptcy assets
have been analyzed and scored using the BK Global Scoring system. BK ScoreTM is a trademark
pending registration with the US Trademark and Patent Office.

 

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

In re: Case No. 18-07147

Chapter 7
Phyilis Brown

Debtors /

 

AFFIDAVIT OF ALEXANDRA GONZALEZ IN SUPPORT OF APPLICATION
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND WEICHERT,l

REALToRs-Egm'rv To PRocURE coNsENTEi) PURchy sALE PURSUANT
To 11 U.s.c. s 327. 338 ANp 330

STATE OF FLORIDA

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couNTY or Pineiias )

Alexandra Gonzalez, being duly sworn, says:

1. l am a real estate agent duly licensed by the State of Florida.

2. I am an agent of Weichert, Realtors-Equity a Florida Corporation,
with corporate offices located at 6500 lst Ave , Saint Petersburg, FL 33710 (“Listing

Agent”).

3. I am familiar with the Application to Retain Weichert, Realtors-
Equity, filed by the Trustee (“Ap_plication”) and the property described therein.

_ 4. I believe that l am experienced and qualified to represent the Trustee
iii connection with the marketing and sale of the real property located at 4531 6th Ave S,
St Petersburg, FL 33711 (the “Propcrty”).

5. Weichert, Realtors-Equity has agreed to accept employment
pursuant to the terms and conditions set forth in the Application and the proposed
commission structure. Based upon my experience and knowledge of the real estate market,
I believe that the commission structure proposed to be paid to Listing Agent does not
exceed customary commissions in the applicable geographical area and are reasonable for
the type of employment proposed.

 

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6. Neither I nor any member of Weichert, Realtors-Equity hold or
represent any interest adverse to the estate with respect to the matters for which We are to
be employed and we are disinterested persons within the meaning of ll U.S.C. § 101(14),
as required by § 327(a).

7. To the best of my information and belief, neither I nor the other
members of this firm have any connection with the Debtors, their creditors, or any other
party in interest or their respective attorneys or accountants, the U. `S. Trustee, or any person
employed in the office of the U.S. Trustee, as required by Rnle 2014 of the Federal Rules
of Bankruptcy procedure except as set forth below.

8. I represent rio interest adverse to the Debtors or its estate in the
matters upon which I am to be engaged.

FURTHER AFFIANT SAYETH NAUGHT.

Alexandra Gonzalez f
Weichert, Realtors-Equity

The foregoing instrument was sworn to and subscribed before me this 5 day of

Ogi~,' Qgg; ,20_1§.

NOTARY PURle

mm Puvrw ama or nom Notary Public, State of Florida

§§¢:`; arrestee mm

wm conn/2022 d Mtc»[ lim/yu /

 

Commissioned

Type, Stamp, or Print Narne as

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ERTIFI ATE VI E

l HEREBY CERTIFY, that a true and correct copy of the foregoing Chapter 7 Trustee's
Application To Retain BK Global Real Estate Services And WElCHERT, REALTORS-EQUITY To Procure
Consented Public Sale Pursuant to 11 U.S.C. §§327, 328, And 330 has been furnished by U.S. Mail
and/or the Court’S CM/ECF System to the ASST. U.S. TRUSTEE, 501 E. Polk St., #1200, Tarnpa, FL
33602 and BK GLOBAL, 1095 Broken Sound Pkwy., Suite 100
Boca Raton, FL 33487, and, WEICHERT, REALTORS-EQUITY, 1511 Gulf Boulevard, lndian Rocks
Beach, FL 33 785, on this 19 the day ofOctober, 2018.

 

/
Stephen L. Me` i ger, f apter7Trustee

707 North Frankl t
Suite 850

Tampa, Florida 33602
(813) 301-1025

